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EXHIBIT 19
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ORIGINAL

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION, et al.

Plaintiffs,
-against-
ALBERTO R. GONZALEZ, in his official
capacity as Attorney General of the

United States,

Defendant.

February 17, 2006
9:30 A.M.

885 Third Avenue
New York, New York

DEPOSITION of SALON, one of the

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Case No.
98-CV-5591

Plaintiffs herein, by JOAN WALSH, taken by the

Defendants, pursuant to Notice.

ARISTA COURT REPORTING CO,
192 Lexington Avenue
Suite 802
New York, New York 10016
(212) 684-6100
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JOAN WALSH

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had an accuracy problem with a piece about four

years ago to my knowledge, that's the only
thing that we've ever taken down. It's all
there, ten years worth.

Q. I think we've been over this, do

you consider any portion of your web site to be

pornographic?
A. No, I personally do not.

QO. Could you just review who

determines what content is put on the web site?

A. Sure. We have.a fairly.
decentralized decision-making structure in
which senior editors have responsibility for

section areas, whether it's life, news,

technology, arts and entertainment, and those
editors are the ones kind of at the first line

deciding, you know, we're covering the Oscars,

we're covering Abu Ghraib, whatever.

We have a daily meeting where we go

over what editors think will be in their

section, what they would likée to be in their
section, and it's at that point that I would
exercise some discretion or judgment and say,

"You know, I need to read that story. You

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know, this package sounds a little heavy on the
entertainment without enough news." At some
point in the process I read everything, but
quite honestly that may be after it's gone up.

We have an executive editor, a
managing editor who are really at the front
line with those section editors reviewing the
stories for quality, clarity, accuracy. Cover
stories I tend to read, you know. I read every
word and comma of our Abu Grave coverage, saw
every image, saw all the images we didn't use.
Issues. like that I'm involved in every other
random.

The columnists, the bloggers, the
bloggers post and we read what they write

later. They have complete autonomy to put

_ their words on the site themselves. So, quite

a lot of that I have very little to do that I
read it and make sure quality's good and then,
you know, we're doing right by our readers, but
I'm not reading to filter or pull back or say
this isn't going up today.

Q. How about with photos?

A. With photos it's the art department

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kind of thing that I don't want our bloggers
doing. It was a combination of simply not
wanting to be derivative and re-purposing other
people's blog, and frankly finding the subject

matter not, you know, not smart.

OQ. Are there photos on the blogs?
A. Occasionally.
Q. Are there sexually explicit photos

on the blogs?

A. Not so far.

Q. Just to make sure I understand, you
say that you or somebody at Salon at some point
reviews everything in the blogs after its
posted at some point?

A. We have a copy editor whose job it
is to mainly look for spelling errors and
certain things. They're really high-level.
professionals so they don't make a lot of
mistakes. That's mainly what she does. If she
was to see something that she thought was poor
reasoning, poor news judgment or offensive, she
might flag it for the managing editor or for me
and say hey, take a look at this, this point

doesn't make sense to me or TIT have this or that

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»JOAN WALSH

issue with it.

Q. Do you have chat rooms?
A. We don't technically have chat
rooms. We have something called Table Talk

that was founded with Salon I'm pretty sure,
you know, right when Salon went up maybe a week
later, I wasn't there. Why it's not chat, the
definitions are a little bit tough for me.
Before I joined I would have called it chat,
but it's definitely not chat.

Basically members can post in
literally hundreds of conversation threads and
talk to, you know, they're certainly talking to
one another, often some of them aren't, some of
them are declaiming and, you know.

We had a whole thread devoted to an
amateur person who decided to take apart the
inconsistencies in George Bush's National Guard
service, and he got the documents and he did
what major news organizations including Salon
unfortunately really didn't do and, you know,
that was a thread that people might chime in
and say you go, good job, but wasn't terribly

conversational as I recall it.

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Other threads are completely
conversational. Other threads are being the
parents of toddlers and what it's like, and
then there are, you know, there's a real
private life thread that discusses
relationships a lot. There's a thread on what
it's like to be a transgendered person. So, in

those threads there can be very sexually,
frank, and by some standards explicit
conversations going on.
Q. Do you review or does anyone

monitor the threads on Table Talk?

on. Not really. We have, basically
we've created this infinite almost infinite
garden in ten years. There are literally I
would say more than hundreds, thousands of
individual conversations going on with quite
literally thousands, tens of thousands of
people who've posted over the years.

We have a half time person
moderating Table Talk, and her job mainly
consists of, you know, visiting threads and
occasionally starting new threads, seeing

what's on people's minds, and then breaking up

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fights, and periodically, very rarely, but
periodically removing posts either because
they're abusive. By and large it's because
they're really over the line, abusive to
another Table Talk member. Never because
they're abusive to me which really bothers me
because there's a whole thread devoted to my
failures, and I'm trying to think if ever in my
experience a thread a post was pulled because
it was obscene or is sexually inappropriate,
and I just don't know that. Tr can't say
definitively either way.

Q. Do you have a complaint process?

A. We do have a complaint process, and
they, for Table Talk the first line of
complaint would be Marybeth Williams, our
moderator, but they go around her, above her,
they find me, they find other management when
they think something's going on that they don't
like, but for the most part really it's all
about civility and how they're treating one
another. It's not, you know, somebody's being

very sexually inappropriate in the private

lives folder.

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went along with them. So, it wasn't an
affirmative change or decision on our part. It

was like our vendor was going out of business,
they found a buyer, we took the path of least
resistance and hooked up with them.

(Brief recess}

Q. I was just about to ask you a few
questions about The Well. Could you just
generally tell me about The Well, how is it
different than Table Talk?

A. The Well is a 20-year-old online
membership community. It was purchased by
Salon in 1999 and was never integrated with
Table Talk in any way except that the director

of The Well also is the director of Table Talk.

She's the director of our community. It's very
separate. It's a small membership community.
You can't -- unlike Table Talk where you can

read it, any of us could read it, but then you
have to be a member to post. With The Well you
can't read anything. T£ you want to go in and
look around, you've got to pay your membership,
and those are the differences.

Q. Are the kinds of materials, the

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-- your increasing traffic is your goal I
believe. Do you have a target demographic that

you seek?

A. It's, you know, I try to be broad.
I don't want Salon to be a kind of narrow
casting niche publication for, you know, men in
their late 20s or, you know. I really think
that we're producing content and that success
for us lies in a pretty broad general interest
audience. I know there are a lot of niche
publishing, but that doesn't excite me. I like
to bring people across age lines, political
lines, cultural lines so.

Q. What about your advertisers, what
kind of demographics do they ask about, are
they interested in?

A. Sure, there's a difference between
what I shoot for and what I get. So, I shoot
for the world, what I seem to have gotten is
fairly affluent, educated, tends to be male, 30
something, professional. So, having said that,
we more -- the web is very male. We have more
female readers than many publications, but it

tends to be an affluent, educated, youngish,

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times. Whereas the original numbers

seem to go in sequence from beginning to

end.

MR. TODD: That is correct.

MR. WIDMAN: For whatever it's
worth.

MR. TODD: Right, and for the
future down the road.

Q. Starting with this article, I don't
know if you need to take a moment to review it’
again, but I was just curious, Salon fears
prosecution under COPA because of this article;
what about this article gives rise to your
fears of prosecution?

A. You know, again, while I might have
no problem with this level of discourse, no
doubt it would be offensive to some people with
traditional values. So, the long description
of all sorts of words for pussy, the, you know,
the description of pussy.

Q. Do you think this article -- why.
did you publish this article, why did Salon
publish this article?

A. Because we thought it was a

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provocative, this argument, how misogynistic it
is that the term pussy when it's associated
with women it's used to mean weak, loser,
wishy-washy.

Q. You think it's a serious
discussion?

MR. WIDMAN: Objection. Calls for

a legal conclusion.

Q. Again, I'm asking you to use the
common sense term of that word and not the
legal definition.

MR. WIDMAN: Same objection.

A. I think serious like all the other
terms is in the eye of the beholder so, and so
my interpretation that this young writer really
does want to change the way of how we use the
word pussy, but that's my interpretation.

Someone else could think it's an offensive,
juvenile exercise and throwing around dirty
words and getting to describe vaginas.

Q. Did you publish this article in
order to appeal to sexual, you know, sexual
excitement, prurient interests?

MR. WIDMAN: Objection. Calls for

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A. Very briefly it's about her coming
to believe that where she once thought porn was
very exploitive of women and anti-feminist,
that in fact porn could be not only liberating,
not only titillating and sexually very, very
exciting, but liberating and with a, you know,
segue way into the fascinating under side of
people who frequent porn theaters.

MR. WIDMAN: I would like to object
to the question. I think the article
speaks for itself.

Q. Why did you publish, why did Salon
publish this article?

A. This was actually before my time,
but I would have published it, you know, still
am open to publishing Susie, you know. We
think she's a good writer with a unique voice

on these topics. We think her history as a

feminist and her evolution in the way she

thinks about sexuality and even what's
considered pornography is provocative and that
she has interesting and unusual insights.

Q. Was the article itself designed to

appeal to the prurient interest?

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MR. WIDMAN: Objection. Calls for

a legal conclusion. Vagueness.

A. Again, it wouldn't seem that way to

me, but with this level of explicit language

and actual depiction of masturbation and

everything else that's in here, it's very easy

for me to imagine somebody else disagreeing

with me.

Q. Did Ms. Bright ask you to link to a

sample of any of the videos?

A. I don't know.

Q. Would you publish, would you put up

links to pornographic movies if someone asked

you to if they were reviewing a porn or
discussing a porn movie like they did here?
MR. WIDMAN: Objection.
Hypothetical.
A. Theoretically, yeah. I mean we

link to a lot of things.

Q. But she didn't ask you to link to

it here?
A. To my knowledge, like I said, I

didn't work there then.

Q. Am I correct in noting that one of

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entitled 'Rectal Romance', and I want to
confirm that this is the article you were
referring to in your complaint?

A. Yes.

Q. Would you like a moment to review
this article?

A. Sure. Okay.

Q. Why did you publish this article?

A. It was a widely-reviewed book by a

relatively serious writer and was attracting
all kinds of interest, and our staff writer
wanted to explore the contradictions of this
woman who considers herself a feminist writing
a book called 'The Surrender', and talking
about how important it was to be dominated in
this particular way by a man.

Q. Do you consider this article a
serious piece of journalism?

MR. WIDMAN: Objection. Calls for

a legal conclusion. Vagueness.

A. We had serious intentions in
printing it.

Q. When you printed this was your

intent to arouse sexual excitement or appeal to

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the prurient interest?
MR. WIDMAN: Objection. Calls for

a legal conclusion. Vagueness.

A. I really can't speculate about what
somebody will find arousing or prurient.

Q. I'm asking what Salon's intent was.
Was Salon's intent to appeal to the prurient
interest?

MR. WIDMAN: Same objection.

A. Prurient is one of those really
loaded, negative words. I mean of course not.
Q. With these three exhibits that I've

put before you, did you put any kind of, did

Salon put any kind of warning screen in front

of them?
A. No.
Q. Why not?
A. We didn't think they rose to the

level of being so disturbing or, you know,
beyond the mainstream that we would have to do
that.

Q. Do you know whether Salon picked

these examples out from its archives or the

ACLU picked these examples out from the archive

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someone as harmful to minors.

MR. WIDMAN: I would like to object
to the last question because it calls
for a legal conclusion.

Q. Are you aware that California has a

harmful to minors statute?

Q. Are you concerned about prosecution
of any material on your web site under that
statute?

A. I'm not aware of it being applied
to publications like ours. So, at this point I
know it's a possibility, but it's not something
I actively worry about.

Q. Because? I'm sorry, could you just
explain that a little bit more?

A. Because I've never been informed
that it would apply to the kind of content that
we post on Salon and it's never been used that.
way.

QO. Are you aware that or generally
aware that many states have harmful to minors
laws that prohibit the sale or display of

harmful to minor materials?

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MR. WIDMAN: Objection. Calls for
information beyond the witness's
personal information.
A. I'm vaguely aware.

Q. Do you fear prosecution under any

of those statutes?

A. No, I don't actively fear it.
Anything's possible.

Q. To back up and ask another
question, you say on some of the photographs
that you post sometimes you put a warning
screen right in front of a series of
photographs, you think that that's easier to do
than to put some other sort of age-verification
barrier?

MR. WIDMAN: Objection. Misstates
prior testimony. Vagueness.

Q. Or something else that might comply
with COPA?

MR. WIDMAN: Same objection. Calls
for a legal conclusion also.

A. I wouldn't necessarily call ita
warning screen. The language varies. It's

part of the layout, it's part of the editorial

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A. That's a very tough question to
answer and I get asked it all the time so I
should have a better answer. I personally, you

know, think we compete with the New York Times
and the blogs. I think we compete on some
level with the New Yorker and Vanity Fare. I
have high aspirations, but, you know, in terms
to a direct, we get compared to Slate. Slate
is the last thing I think about. Iomean I'm
not putting it down, it's just not what we're
doing given that my goal is to break news as
well as produce the most compelling sort of
social commentary certainly on the web.

But even beyond the web I tend to
think of us more in the context of the New York
Times than a, you know, talking points memo as
much as I love Josh Marshall.

Q. Can you give us some examples of
some other blogs that you view as competitors?

A. I don't really view the blogs as
competitors because they're so small. I think
collectively the blogisphere competes with us.

Q. Can you give us some examples of

daily blogs that compete with you?

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